       Case 3:24-cv-00084-TES           Document 1       Filed 09/04/24      Page 1 of 22




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                 ATHENS DIVISION


GLIOBLASTOMA FOUNDATION, INC.

                  Plaintiff,                     CIVIL ACTION NO.

         v.                                      JURY TRIAL DEMANDED

GBM FOUNDATION, INC.

                  Defendant.


                                             COMPLAINT

       Plaintiff Glioblastoma Foundation, Inc. (“Glioblastoma Foundation” or “Plaintiff”), by its

undersigned attorneys, alleges as follows, upon actual knowledge with respect to itself and its

own acts, and upon information and belief as to all other matters.

                                 NATURE OF THE ACTION

       1.      This is a civil action for trademark infringement and unfair competition under

federal, state, and/or common law.

       2.      Glioblastoma Foundation is a nonprofit organization dedicated to transforming

the standard of care for patients suffering from glioblastoma, an aggressive and devastating

cancer with a poor long-term prognosis and unique treatment challenges.

       3.      Since 2016, the Glioblastoma Foundation has leveraged its medical expertise in

glioblastoma treatment and research to identify, support, and fund innovative research projects

and initiatives that the Glioblastoma Foundation determines likely to advance the standard of

care for glioblastoma patients and improve surgical outcomes, diagnoses, and treatments.

       4.      As the leading nonprofit organization in this field, donors, patients, and funding

recipients alike have come to associate the Glioblastoma Foundation with its well-known



                                                 1
         Case 3:24-cv-00084-TES         Document 1        Filed 09/04/24      Page 2 of 22




GLIOBLASTOMA FOUNDATION trademark. As a testament to this, the Glioblastoma

Foundation obtained U.S. Registration No. 6933147 for the GLIOBLASTOMA FOUNDATION

mark on the Principal Register from the U.S. Patent and Trademark Office.

         5.    The Glioblastoma Foundation has regrettably been forced to bring this action

given the Defendant GBM Foundation, Inc.’s adoption of a nearly identical trademark which has

been causing substantial and ongoing actual confusion in the marketplace and materially

misleading donors.

                                            PARTIES

         6.    Plaintiff Glioblastoma Foundation, Inc. is a North Carolina nonprofit corporation

with its principal place of business at 2451 Croasdaile Farm Parkway, Suite 109, Durham, NC

27705.

         7.    Defendant GBM Foundation, Inc. is a Georgia nonprofit corporation with its

principal place of business at 6350 Lake Oconee Pkwy, Suite 110-117, Greensboro, GA, 30642.

                                JURISDICTION AND VENUE

         8.    This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C.

§ 1121 and 28 U.S.C. §§ 1331, 1338(a) and (b). Pursuant to 28 U.S.C. § 1367, this Court has

supplemental jurisdiction over the Glioblastoma Foundation’s state law claims because those

claims are substantially related to the Glioblastoma Foundation’s federal Lanham Act claims.

         9.    This Court has personal jurisdiction over Defendant, and venue is proper in the

Middle District of Georgia pursuant to 28 U.S.C. § 1391(b) and (c) and 28 U.S.C. § 1400(a),

because the Glioblastoma Foundation is being harmed in this District; Defendant is

headquartered in this District; Defendant’s principal is domiciled in this District; Defendant is




                                                 2
        Case 3:24-cv-00084-TES           Document 1      Filed 09/04/24      Page 3 of 22




conducting business in this District; and Defendant is violating the Glioblastoma Foundation’s

rights in this District.

                               GLIOBLASTOMA FOUNDATION

        10.     Plaintiff Glioblastoma Foundation is a leading organization dedicated to

improving the standard of care for glioblastoma patients through the advancement of targeted

and small molecule therapies as alternatives to radiation and chemotherapy that can prolong

survival and increase quality of life.

        11.     The Glioblastoma Foundation carries out its important mission by leveraging the

expertise of its scientific advisory board (comprised of physicians, pharmacists, and public health

experts) and scientific staff to reach informed, science-based conclusions regarding the funding

of recipients most likely to advance the standard of care for glioblastoma patients.

        12.     As a result, the public has come to associate the Glioblastoma Foundation’s

GLIOBLASTOMA FOUNDATION trademark with medical and scientific expertise in steering

charitable donations toward targeted small molecule therapy alternatives to radiation and

chemotherapy in the fight against glioblastoma.

        13.     The Glioblastoma Foundation’s scientific advisory board is led by Dr. Madan

Kwatra, the Director of the Glioblastoma Drug Discovery Group at the Kwatra Lab and

Associate Professor in Anesthesiology at Duke University School of Medicine. Dr. Kwatra has

researched glioblastoma biology since 2009, when he discovered a constitutively active form of

NK1R in glioblastoma. Since then, Dr. Kwatra has leveraged his expertise in medicinal

chemistry, receptor pharmacology, cell signaling, and clinical trials to develop effective therapies

against glioblastoma. Dr. Kwatra’s laboratory currently studies mechanisms of signal

transduction through substance P receptor in human glioblastomas.




                                                  3
       Case 3:24-cv-00084-TES          Document 1        Filed 09/04/24     Page 4 of 22




       14.     By leveraging the expertise of Dr. Kwatra and the Glioblastoma Foundation’s

scientific advisory board and staff, the Glioblastoma Foundation has successfully funded many

treatments and drugs that show promise to improve the standard of care for glioblastoma

patients. For example, the Glioblastoma Foundation recently funded the HSP-90 drug, which

has entered Phase I clinical trials. See https://glioblastomafoundation.org/news/hsp-90-drug-

funded-by-glioblastoma-foundation-gets-nih-funding. The Glioblastoma Foundation also

recently funded an MRI-guided focused ultrasound study for subcortical glioblastoma at the

department of Neurosurgery at Weill-Cornell Medical Center. See

https://glioblastomafoundation.org/news/glioblastoma-foundation-funds-mri-guided-focused-

ultrasound-for-subcortical-glioblastoma.

       15.     Recently, the Glioblastoma Foundation has partnered with Basilea Pharmaceutica

Ltd, Allschwil, on the development of a promising drug candidate for the treatment of

glioblastomas, Lisavanbulin (BAL101553, the prodrug of BAL27862), which has demonstrated

in-vitro and in-vivo activity against diverse treatment-resistant cancer models, including tumors

refractory to conventional approved therapeutics and radiotherapy. See

https://www.basilea.com/news#news_1499.

       16.     In May 2024, the Glioblastoma Foundation also established a new Genomic

Testing & Research Laboratory that provides glioblastoma patients more comprehensive genetic

testing services, allowing each glioblastoma patient to have their tumor molecularly

characterized. See https://www.accesswire.com/863906/glioblastoma-foundationr-announces-

the-establishment-of-groundbreaking-genomic-testing-research-laboratory;

https://www.accesswire.com/910140/glioblastoma-foundation-genomic-testing-research-

laboratory-ribbon-cutting-ceremony-on-sept-3rd.




                                                4
       Case 3:24-cv-00084-TES           Document 1       Filed 09/04/24       Page 5 of 22




       17.     In addition to research and funding activities related to the treatment of

glioblastoma, the Glioblastoma Foundation devotes substantial time, effort, and resources to

raising public awareness about the disease. For example, in 2019, after the U.S. Senate approved

a resolution declaring National Glioblastoma Awareness Day, the Glioblastoma Foundation

hosted its inaugural Glioblastoma Awareness Gala in recognition of Glioblastoma Awareness

Day. And in 2020, in an effort to raise further awareness of glioblastoma, the Glioblastoma

Foundation launched a tribute fundraiser in memory of Neil Peart, the deceased drummer of the

well-known band Rush, who passed away from glioblastoma in January 2020.

       18.     The Glioblastoma Foundation promotes its important research funding mission

and public awareness of glioblastoma through digital media, internet advertising, events, and

sponsorships in connection with the GLIOBLASTOMA FOUNDATION trademark.

       19.     For example, through its website at glioblastomafoundation.org, the Glioblastoma

Foundation promotes various research initiatives; allows benefactors to donate and fundraise;

provides volunteer information and opportunities to “get involved”; and lists patient, news, and

event information related to the Glioblastoma Foundation’s important mission.




                                                 5
       Case 3:24-cv-00084-TES         Document 1      Filed 09/04/24     Page 6 of 22




       20.     The Glioblastoma Foundation also promotes its important research funding

mission and public awareness of glioblastoma in connection with its GLIOBLASTOMA

FOUNDATION trademark through social media, including its Facebook and Instagram accounts

which collectively have over ten thousand followers (shown below):




       21.     More recently, the Glioblastoma Foundation began promoting its research funding

mission and public awareness of glioblastoma in connection with its GLIOBLASTOMA

FOUNDATION trademark through a podcast where glioblastoma patients and caregivers share

their experiences.




                                              6
           Case 3:24-cv-00084-TES      Document 1      Filed 09/04/24     Page 7 of 22




       22.      The Glioblastoma Foundation also partners with popular brands to promote

awareness and fundraise in connection with its GLIOBLASTOMA FOUNDATION trademark.

For example, the Glioblastoma Foundation partnered with Tough Mudder for the 2020 and 2021

race seasons and invited participant-contributors to join the Glioblastoma Foundation Tough

Mudder Team.




       23.      The Glioblastoma Foundation also partners with popular events to promote

awareness and fundraise in connection with its GLIOBLASTOMA FOUNDATION trademark.

For example, the Glioblastoma Foundation is an official 2025 Los Angeles Marathon charity

partner.




                                               7
       Case 3:24-cv-00084-TES         Document 1          Filed 09/04/24     Page 8 of 22




      https://glioblastomafoundation.org/glioblastoma-news/2025-los-angeles-marathon-2

       24.    Owing to the Glioblastoma Foundation’s substantial promotional activities, major

news outlets have contacted the Glioblastoma Foundation for comment on the passing of

prominent individuals from glioblastoma. For example, in August 2018, John McCain passed

away from glioblastoma, and from a universe of organizations, Huffington Post contacted the

Glioblastoma Foundation for comment. See www.huffpost.com/entry/glioblastoma-advocates-

praise-mccain-family_n_5afc8181e4b0779345d55b9e.

       25.    The Glioblastoma Foundation owns valid and subsisting U.S. trademark

registrations for several variations of the GLIOBLASTOMA FOUNDATION trademark (the

“GLIOBLASTOMA FOUNDATION Trademarks”) on the Principal Register, including:

                                                                                           First Use in
      Mark                 Reg. No.     Class                 Goods/Services
                                                                                           Commerce
GLIOBLASTOMA                                        “Accepting and administering
 FOUNDATION                6933147       36         monetary charitable contributions to   June 1, 2016
                                                    fund medical research”
                                                    “Accepting and administering
                           6886974       36         monetary charitable contributions to   June 1, 2016
                                                    fund medical research”




                                                8
        Case 3:24-cv-00084-TES            Document 1    Filed 09/04/24     Page 9 of 22




       26.      The Glioblastoma Foundation has continuously used the GLIOBLASTOMA

FOUNDATION name as a service mark throughout the United States for nearly a decade, since

at least June 1, 2016.

       27.      As a result of substantial promotional efforts, the GLIOBLASTOMA

FOUNDATION Trademarks have acquired distinctiveness and achieved public recognition long

prior to Defendant’s first commercial use of the infringing “GBM Foundation” name.

                         DEFENDANT AND ITS WRONGFUL ACTS

       28.      Defendant GBM Foundation, Inc. operates a nonprofit organization focused on

glioblastoma.

       29.      GBM Foundation was established in 2017 as the Gail Boyter Magness

Foundation, Inc. by Carly Magness Bonsignore and Ric Magness who had suffered the loss of

their loved one, Gail Ashley Boyter Magness, from glioblastoma.

       30.      Carly Magness Bonsignore and Ric Magness lack any medical expertise and

possess no scientific background relevant to glioblastoma research or treatment.

       31.      On or about October 15, 2020, Defendant filed to change its name with the

Georgia Secretary of State Business Registry, requesting that “Gail Boyter Magness Foundation,

Inc.” be renamed “GBM Foundation, Inc.”

       32.      Defendant has since used GBM Foundation on its website and in social media,

search engine results, and IRS records:




                                https://www.gbmfoundation.com/




                                                9
Case 3:24-cv-00084-TES    Document 1      Filed 09/04/24   Page 10 of 22




                    https://www.gbmfoundation.com/




         https://x.com/gbmfoundation/status/1812272362601234661




                                  10
       Case 3:24-cv-00084-TES       Document 1       Filed 09/04/24   Page 11 of 22




                        https://www.instagram.com/p/C0MM0EAvkC5/




                                https://apps.irs.gov/app/eos/

       33.    The Glioblastoma Foundation promptly objected to the “GBM Foundation” name

after becoming aware of it.




                                             11
       Case 3:24-cv-00084-TES         Document 1       Filed 09/04/24      Page 12 of 22




       34.     Defendant knew about the Glioblastoma Foundation and the success it had

generated under the GLIOBLASTOMA FOUNDATION name when Defendant chose to change

its name to “GBM Foundation.”

       35.     Defendant chose the name “GBM Foundation” despite having a universe of

possible names to select.

       36.     Defendant chose “GBM Foundation” knowing that “GBM” was a ubiquitously

accepted abbreviation for “glioblastoma.” See, e.g.,

https://www.aans.org/en/Patients/Neurosurgical-Conditions-and-Treatments/Glioblastoma-

Multiforme, https://www.hopkinsmedicine.org/health/conditions-and-diseases/glioblastoma-

multiforme-gbm-advancing-treatment-for-a-dangerous-brain-tumor,

https://www.abta.org/tumor_types/glioblastoma-gbm/,

https://en.wikipedia.org/wiki/Glioblastoma, https://braintumourresearch.org/en-us/pages/types-

of-brain-tumours-glioblastoma-multiforme-gbm, https://braintumor.org/events/glioblastoma-

awareness-day/about-glioblastoma/, https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5563115/,

https://my.clevelandclinic.org/health/diseases/17032-glioblastoma, https://www.cedars-

sinai.org/health-library/diseases-and-conditions/g/glioblastoma-multiforme.html,

https://www.thebraintumourcharity.org/brain-tumour-diagnosis-treatment/types-of-brain-tumour-

adult/glioblastoma/.

       37.     Defendant is aware of this abbreviation, given that it abbreviates “glioblastoma”

to “GBM” on its own website. See https://www.gbmfoundation.com/about (“Ashley passed

away from a Glioblastoma (GBM) in March of 2016.”).




                                               12
       Case 3:24-cv-00084-TES          Document 1       Filed 09/04/24      Page 13 of 22




       38.     The names GLIOBLASTOMA FOUNDATION and GBM Foundation are

functionally equivalent in the minds of donors. Indeed, Plaintiff’s donors regularly refer to

Plaintiff as “GBM Foundation.”

       39.     Compounding the confusion, Defendant uses “glioblastoma” and “GBM” in its

advertising interchangeably, as shown below:




                          https://www.instagram.com/p/CxWPOnji9FS/




                         https://www.instagram.com/p/BddWWOohoyf/




                                                13
       Case 3:24-cv-00084-TES          Document 1       Filed 09/04/24         Page 14 of 22




       40.     Defendant chose GBM Foundation knowing it is an abbreviated form of

Plaintiff’s GLIOBLASTOMA FOUNDATION name with the objective of trading on Plaintiff’s

goodwill.

   Defendant’s Activities Have Caused Substantial Actual Confusion in the Marketplace

       41.     Defendant’s activities and use of the Infringing Trademarks (“GBM Foundation”

and its variations “@gbmfoundation” and “#gbmfoundation”) have caused multiple instances of

actual confusion with the Glioblastoma Foundation given the nearly identical names.

       42.     For example, on April 3, 2024 the Glioblastoma Foundation received a voicemail

from a prospective donor that was confused about the various “Glioblastoma Foundations” and

wanted to know where to direct her donation.

       43.     On information and belief, Defendant has received inquiries about the

Glioblastoma Foundation.

       44.     On information and belief, Defendant has received checks made payable to the

Glioblastoma Foundation.

       45.     The foregoing instances of actual confusion support the conclusion that the

GLIOBLASTOMA FOUNDATION Trademarks and the Infringing Trademarks are confusingly

similar in overall commercial impression, and that donors and other interested parties will

continue to be confused if Defendant’s activities are permitted to continue.




                                                14
       Case 3:24-cv-00084-TES          Document 1        Filed 09/04/24     Page 15 of 22




                   Plaintiff’s Unsuccessful Attempts to Resolve this Matter

       46.     On September 24, 2020, Glioblastoma Foundation requested that Defendant cease

and desist using the abbreviated name “GBM Foundation” because it is confusingly similar to

the GLIOBLASTOMA FOUNDATION trademark.

       47.     Despite the Glioblastoma Foundation’s objections, Defendant adopted the

abbreviated name anyway and continued to use both “GBM Foundation, Inc.” and “GBM

Foundation,” as detailed above.

       48.     Since that time, Defendant’s use of the Infringing Trademarks has continued to

cause actual confusion among actual and potential donors, and upon information and belief,

Defendant’s use of the Infringing Trademarks has diverted donors and funds away from the

Glioblastoma Foundation and Internet traffic away from the Glioblastoma Foundation’s website.

        INJURY TO THE PUBLIC AND THE GLIOBLASTOMA FOUNDATION

       49.     Defendant’s use of the Infringing Trademarks is likely to cause confusion,

mistake, and deception as to the source or origin of the Glioblastoma Foundation’s services, and

is likely to falsely suggest a sponsorship, connection, or association between Defendant, its

services, and/or its commercial activities with the Glioblastoma Foundation and/or its corporate

identity. Indeed, such confusion has already occurred as detailed above.

       50.     Defendant’s unauthorized use of the Infringing Trademarks has damaged and

irreparably injured, and if permitted to continue, will further damage and irreparably injure the

Glioblastoma Foundation, its reputation and goodwill, the GLIOBLASTOMA FOUNDATION

Trademarks, the Glioblastoma Foundation’s corporate identity, and the public’s interest in being

free from confusion.




                                                15
       Case 3:24-cv-00084-TES           Document 1       Filed 09/04/24      Page 16 of 22




                                FIRST CLAIM FOR RELIEF
                         Trademark Infringement, False Designation
                       of Origin, Passing Off, and Unfair Competition
                  Under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1)

       51.       The Glioblastoma Foundation repeats and realleges every allegation set forth in

paragraphs 1-50 above.

       52.       Without the Glioblastoma Foundation’s consent or permission, Defendant used

and continues to use the Infringing Trademarks in commerce, as described above, in connection

with the identical services including accepting and administering monetary charitable

contributions to fund glioblastoma research. The Infringing Trademarks constitute

reproductions, copies, or colorable imitations of the Glioblastoma Foundation’s registered

GLIOBLASTOMA FOUNDATION Trademarks, including U.S. Reg. Nos. 6933147 and

6886974. As such, Defendant’s infringement is likely to cause customer confusion, or to cause

mistake, or to deceive customers in violation of Section 32(1) of the Lanham Act, 15 U.S.C.

§ 1114(1).

                               SECOND CLAIM FOR RELIEF
                          Trademark Infringement, False Designation
                        of Origin, Passing Off, and Unfair Competition
             Under Section 43(a)(1)(A) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A)

       53.       The Glioblastoma Foundation repeats and realleges every allegation set forth in

paragraphs 1-50 above.

       54.       The Glioblastoma Foundation has prior common law rights in the

GLIOBLASTOMA FOUNDATION Trademarks because these trademarks acquired

distinctiveness long before Defendant’s first commercial use of the Infringing Trademarks.

       55.       Defendant’s use of the Infringing Trademarks, as described above, is likely to

cause confusion, or to cause mistake, or to deceive as to the origin, sponsorship, or approval of




                                                 16
       Case 3:24-cv-00084-TES          Document 1        Filed 09/04/24     Page 17 of 22




Defendant, its products and services, and/or its commercial activities by or with the

Glioblastoma Foundation, and thus constitute trademark infringement, false designation of

origin, passing off, and unfair competition in violation of Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a).

                             THIRD CLAIM FOR RELIEF
                      Trademark Infringement and Unfair Competition
                                Under O.C.G.A. § 23-2-55

          56.   The Glioblastoma Foundation repeats and realleges every allegation set forth in

paragraphs 1-50 above.

          57.   Georgia’s O.C.G.A. § 23-2-55 prohibits any attempt to encroach upon the

business of another by the use of similar trademarks or names with the intention of deceiving and

misleading the public.

          58.   Defendant’s actions described above have damaged the Glioblastoma Foundation

and will, unless enjoined by the Court, further impair the value of the GLIOBLASTOMA

FOUNDATION Marks and the Glioblastoma Foundation’s reputation and goodwill. This harm

constitutes an injury for which the Glioblastoma Foundation has no adequate remedy at law.

          59.   By reason of the foregoing, the Glioblastoma Foundation is entitled to permanent

injunctive relief against Defendant, restraining it from any further acts of encroaching on the

Glioblastoma Foundation’s business and recovery of any damages (to the extent calculable)

proven to have been caused by reason of Defendant’s acts, among other remedies provided for

by law.




                                                17
       Case 3:24-cv-00084-TES           Document 1       Filed 09/04/24      Page 18 of 22




                               FOURTH CLAIM FOR RELIEF
                                  Deceptive Trade Practices
                               Under O.C.G.A. § 10-1-372 et seq.

       60.     The Glioblastoma Foundation repeats and realleges every allegation set forth in

paragraphs 1-50 above.

       61.     Defendant’s aforementioned activities constitute deceptive trade practices in

violation of Georgia law, O.C.G.A. § 10-1-372 et seq.

       62.     The Glioblastoma Foundation’s services are directed to consumers, including

donors, potential donors, funding recipients and others who have been and are being injured by

Defendant’s deceptive trade practices in trade or commerce.

       63.     Defendant’s conduct has damaged the Glioblastoma Foundation and will, unless

enjoined by the Court, further impair the value of the GLIOBLASTOMA FOUNDATION Marks

and the Glioblastoma Foundation’s reputation and goodwill. This harm constitutes an injury for

which the Glioblastoma Foundation has no adequate remedy at law.

       64.     By reason of the foregoing, the Glioblastoma Foundation is entitled to permanent

injunctive relief against Defendant, restraining it from any further acts of deceptive trade

practices and recovery of any damages (to the extent calculable) proven to have been caused by

reason of Defendant’s aforesaid acts, among other remedies provided for by law.

                             FIFTH CLAIM FOR RELIEF
                      Trademark Infringement and Unfair Competition
                              Under Georgia Common Law

       65.     The Glioblastoma Foundation repeats and realleges every allegation set forth in

paragraphs 1-50 above.

       66.     The Glioblastoma Foundation has common law rights in the GLIOBLASTOMA

FOUNDATION Marks in Georgia and nationwide.




                                                 18
       Case 3:24-cv-00084-TES            Document 1     Filed 09/04/24      Page 19 of 22




       67.     Defendant’s actions described above create the impression in the minds of the

public that the Glioblastoma Foundation is responsible for the quality and performance of

Defendant’s products/services, or is otherwise affiliated, connected, or associated with

Defendant, its products/services, and/or its commercial activities. Thus, Defendant’s

aforementioned actions are likely to cause confusion, or to cause mistake, or to deceive as to the

affiliation, connection, or association of Defendant with the Glioblastoma Foundation or its

GLIOLBASTOMA FOUNDATION Marks, or as to the origin, affiliation, connection,

association, sponsorship, or approval of Defendant, its services, and/or its commercial activities

by or with the Glioblastoma Foundation.

       68.     Defendant has acted, and continues to act, willfully, deliberately, and with full

knowledge of the Glioblastoma’s use of and common law rights in its GLIOBLASTOMA

FOUNDATION Marks and without regard to the likelihood of confusion and misleading of the

public created by Defendant’s actions.

       69.     Defendant’s acts constitute infringement of the Glioblastoma Foundation’s

proprietary rights in its GLIOBLASTOMA FOUNDATION Marks, misappropriation of the

Glioblastoma Foundation’s goodwill in those marks, and unfair competition under Georgia

common law.

       70.     Defendant’s conduct has irreparably damaged the Glioblastoma Foundation and

will, unless enjoined by the Court, further impair the value of the GLIOBLASTOMA

FOUNDATION Marks and the Glioblastoma Foundation’s reputation and goodwill. This harm

constitutes an injury for which the Glioblastoma Foundation has no adequate remedy at law.




                                                19
       Case 3:24-cv-00084-TES           Document 1        Filed 09/04/24      Page 20 of 22




                                     PRAYER FOR RELIEF

       WHEREFORE, the Glioblastoma Foundation requests that this Court enter judgment in

its favor on each and every claim for relief set forth above and award it relief, including but not

limited to the following:

       A.      An Order declaring that Defendant’s use of the Infringing Trademarks infringes

the Glioblastoma Foundation’s rights in its GLIOBLASTOMA FOUNDATION Trademarks and

constitutes trademark infringement and unfair competition under federal and/or state law, as

detailed above.

       B.      An Order enjoining Defendant and its employees, agents, partners, officers,

directors, owners, shareholders, principals, subsidiaries, related companies, affiliates,

distributors, dealers, and all persons in active concert or participation with any of them:

               1.    From using or registering the Infringing Trademarks and/or any other

               confusingly similar marks, logos, designs, source identifiers, or designations in

               any manner likely to cause confusion with the GLIOBLASTOMA

               FOUNDATION Trademarks, or otherwise injure the Glioblastoma Foundation or

               its reputation;

               2.    From representing by any means whatsoever, directly or indirectly, that any

               products or services offered by Defendant, or any activities undertaken by

               Defendant, are associated or connected in any way with the Glioblastoma

               Foundation, or are sponsored or authorized by or affiliated with the Glioblastoma

               Foundation;

               3.    From assisting, aiding, or abetting any other person or entity in engaging in

               or performing any of the activities in subparagraph B(1) above.




                                                 20
       Case 3:24-cv-00084-TES             Document 1       Filed 09/04/24      Page 21 of 22




        C.        An Order directing Defendant to immediately delete or destroy all products,

advertisements, promotional materials, stationery, forms, videos, posts, “tweets,” uploads, and/or

any other materials and things that contain or bear the Infringing Trademarks and/or any other

marks, logos, designs, source identifiers, or designations likely to cause confusion with the

GLIOBLASTOMA FOUNDATION Trademarks and/or injuries the Glioblastoma Foundation or

its reputation.

        D.        An Order directing Defendant to implement and maintain negative keywords that

block Defendant from Google and Bing search results for all searches of the GLIOBLASTOMA

FOUNDATION Trademarks.

        E.        An Order directing Defendant to account for and return all donations received by

Defendant that were intended for the Glioblastoma Foundation.

        F.        An Order directing Defendant to, within thirty (30) days after the entry of the

injunction, file with this Court and serve on Glioblastoma Foundation’s attorneys a report in

writing and under oath setting forth in detail the manner and form in which Defendant has

complied with the injunction.

        G.        Any further relief as the Court may deem just and appropriate.

                                          JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38, the Glioblastoma Foundation demands a

trial by jury.




                                                   21
      Case 3:24-cv-00084-TES      Document 1      Filed 09/04/24     Page 22 of 22




Dated: September 4, 2024       Respectfully submitted,


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                                          22
